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    IT IS ORDERED as set forth below:



    Date: December 10, 2020
                                                          _________________________________

                                                                   Barbara Ellis-Monro
                                                              U.S. Bankruptcy Court Judge

  ________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


 IN RE:                                         :           CASE NO. 09-61855-BEM
                                                :
 TODD ANTHONY SHAW,                             :           CHAPTER 7
                                                :
          Debtor.                               :
 ____________________________________:

        ORDER GRANTING (A) SECOND APPLICATION OF TRUSTEE FOR
     INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES, AND
  (B) SECOND INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION
 AND REIMBURSEMENT OF EXPENSES OF HAYS FINANCIAL CONSULTING, LLC,
               AS ACCOUNTANTS FOR CHAPTER 7 TRUSTEE

          On November 9, 2020, S. Gregory Hays, Chapter 7 Trustee for Todd Anthony Shaw

 (“Trustee”), filed his second interim application [Doc. No. 192] (the “Trustee Application”) for

 allowance of compensation in the amount of $26,813.09 and reimbursement of expenses in the

 amount of $133.54. Also on November 9, 2020, Hays Financial Consulting, LLC (“HFC”), as

 accountants for Trustee, filed its second interim application [Doc. No. 191] (the “HFC

 Application” together with the Trustee Application, the “Applications”) for allowance of




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 compensation in the amount of $12,240.00 and reimbursement of expenses in the amount of

 $111.00.

          On November 10, 2020, Trustee filed a Notice of Pleading, Deadline to Object, and for

 Hearing [Doc. No. 194] (the “Notice”), in accordance with General Order No. 24-2018, and

 setting hearings on the Applications on December 8, 2020 (the “Hearing”). Counsel for Trustee

 asserts that he served the Notice on all requisite parties in interest. [Doc. No. 196].

          The Notice provided notice of the opportunity to object and for hearing pursuant to the

 procedures in General Order No. 24-2018. No objection to the Objections was filed prior to the

 objection deadline provided in the Notice.

          Counsel for Trustee appeared at the calendar call for the Hearing. No creditors or parties

 in interest appeared.

          The services sought to be compensated in the Fee Applications have been evaluated under

 11 U.S.C. §§ 326, 330, and 331. The compensation requested by Trustee is equal to the statutory

 fee provided in 11 U.S.C. §326, and appears reasonable under the circumstances.                The

 compensation of Trustee’s professionals is reasonable under the circumstances.            Under the

 principles set forth in Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th

 Cir. 1988), and this Court’s knowledge of prevailing market rates and an evaluation of the skill,

 experience, and reputation of the professional applicants, the hourly rates, which they seek to

 charge, are reasonable.     Review of the Fee Applications shows the hours expended were

 reasonable. The Court further finds that the expenses, for which reimbursement is sought, were

 reasonable and necessary in rendering the services. No factors are present in this case that

 require reduction or enhancement of the lodestar. Accordingly, and for good cause shown, it is

 hereby



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         ORDERED that the Applications are GRANTED. It is further

         ORDERED that Trustee is allowed compensation in the amount of $26,813.09 plus

 $133.54 as reimbursement for expenses. It is further

         ORDERED that HFC is allowed compensation in the amount of $12,240.00 plus

 $111.00 as reimbursement for expenses. It is further

         ORDERED that the Trustee is authorized to pay the full amount of the awarded

 compensation and expenses approved in this Order, subject to Trustee’s making the interim

 distributions that he requested in his Motion for Authority to Make Second Interim Distribution

 [Doc. No. 189].

                                    [END OF DOCUMENT]


 Order prepared and presented by:

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 Attorneys for Trustee

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 Identification of parties to be served:

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 Atlanta, GA 30303

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 Atlanta, GA 30331



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